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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
                                                                        :
UNITED STATES OF AMERICA                                                :
                                                                        :
          - against -                                                   :   18 Cr. 36 (JPO)
                                                                        :
DAVID MIDDENDORF, et al.,                                               :
                                                                        :
                               Defendants.                              :
                                                                        :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

DECLARATION OF ALEXANDRA R. CLARK IN SUPPORT OF DEFENDANT DAVID
        MIDDENDORF’S MOTION FOR A BILL OF PARTICULARS
       AND TO COMPEL THE PRODUCTION OF BRADY MATERIAL

          ALEXANDRA R. CLARK, pursuant to 28 U.S.C. § 1746, hereby declares under the

penalty of perjury as follows:

          1.        I am an associate at the law firm Petrillo Klein & Boxer LLP, counsel for David

Middendorf, who is a defendant in these proceedings. I submit this Declaration in support of Mr.

Middendorf’s motion for an Order requiring the government to file a bill of particulars pursuant

to Rule 7(f) of the Federal Rules of Criminal Procedure, and for an Order compelling the

government to produce information in its possession in order to comply with its disclosure

obligations under Brady v. Maryland, 373 U.S. 83 (1963), and its progeny.

          2.        Attached are:

                    a.        Exhibit A, a true and correct copy of a letter from Nelson A. Boxer to the
                              government dated February 5, 2018;

                    b.        Exhibit B, a true and correct copy of a letter from the government to
                              Nelson A. Boxer dated February 13, 2018;
                    c.        Exhibit C, a true and correct copy of an excerpt of a transcript of the
                              January 5, 2018 proceedings held before United States Magistrate Judge
                              Robert W. Lehrburger in United States v. Sweet, 18 Cr. 00008 (S.D.N.Y.);
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